Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1161   Page 1
                                    of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1162   Page 2
                                    of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1163   Page 3
                                    of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1164   Page 4
                                    of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1165   Page 5
                                    of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1166   Page 6
                                    of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1167   Page 7
                                    of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1168   Page 8
                                    of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1169   Page 9
                                    of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1170   Page 10
                                     of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1171   Page 11
                                     of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1172   Page 12
                                     of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1173   Page 13
                                     of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1174   Page 14
                                     of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1175   Page 15
                                     of 16
Case 3:25-cv-00885-JLS-BLM   Document 10 Filed 04/18/25   PageID.1176   Page 16
                                     of 16
